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   8                          UNITED STATES DISTRICT COURT
   9                        CENTRAL DISTRICT OF CALIFORNIA
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  11
        TERESA TURNER, INDIVIDUALLY                     Case No. 2:25-CV-00334-FMO-PD
  12    AND ON BEHALF OF ALL OTHERS
        SIMILARLY SITUATED,
  13
                                       Plaintiff,       [PROPOSED] ORDER GRANTING
  14                                                    DEFENDANT’S MOTION TO STAY
                v.                                      DISCOVERY
  15
        NATIONAL NOTARY
  16    ASSOCIATION,                                    Judge:     Fernando M. Olguin
  17                                 Defendant.
  18
             Upon considering Defendant National Notary Association’s Motion to Stay
  19
       Discovery, and the Court being fully aware of the premises therein, it is hereby:
  20
             ORDERED that the Motion is GRANTED, and that all discovery is stayed
  21
       until this Court enters an order lifting the stay.
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  23
       Dated:
  24                                                             Fernando M. Olguin
                                                                 United States District Judge
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  30                              ORDER GRANTING MOTION TO STAY
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